  Case 1:21-mj-03533-LFL Document 7 Entered on FLSD Docket 08/06/2021 Page 1 of 1

                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                      Case No: 21-MJ-3533-LOUIS

United States of America
       Plaintiff,
     V.
                                                 Charging District's Case No. 21-cr-245-MSS
JOSE PALMA,
      Defendant.
- - - - - - - - - - - - - - -I
                   WAIVER OF RULE 5 & 5.1 REMOVAL/IDENTITY HEARINGS

          I understand that I have been charged in another district, the Middle District of Florida.
          I have been informed of the charges and of my rights to:
          (1)    retain counsel or request the assignment of counsel ifl am unable to retain counsel;
          (2)    an identity hearing to determine whether I am the person named in the charges;
          (3)    production of the warrant, a certified copy of the warrant, or a reliable electronic copy of
                 either;
          (4)    a preliminary hearing within 14 days of my first appearance if I am in custody and 21
                 days otherwise - unless I am indicted - to determine whether there is probable cause to
                 believe that an offense has been committed;
          (5)    a hearing on any motion by the government for detention;
          (6)    request transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead
                 guilty.

          I agree to waive my rights to: (check those that apply)
            D    An identity hearing and production of the warrant.
            D    A preliminary hearing.
            D    A detention hearing in the Southern District of Florida.
            ~ An identity hearing, production of the warrant, and any preliminary or detention hearing
                 to which I may be entitled to in this district. I request that those hearings be held in the
                 prosecuting district, at a time set by that court.
          I consent to the issuance of an order requiring my appearance in the prosecuting district where
the charges are pending against me.




Date: 8/5/2021

                                                                !Lauren F. Louis
                                                                 United States Magistrate Judge
